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                             IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TENNESSEE
                                      WESTERN DIVISION

UNITED STATES OF AMERICA,

         Plaintiff,

vs.                                                        CASE NO.:    1:17‐cr‐10004‐STA‐14

BOBBY McELRATH,

         Defendant.




      ORDER GRANTING MOTION TO SET CHANGE OF PLEA HEARING AND NOTICE OF SETTING




         This matter came to be heard upon the Motion on behalf of the Defendant, Bobby

McElrath requesting an Order Granting Motion to Set Change of Plea Hearing. The Court finds

that this request is well taken and should be granted, and the hearing date will be on the 16th

day of March, 2018 at 9:00 AM.


         IT IS SO ORDERED, this 8th day of March, 2018.




                                                     s/S. Thomas Anderson
                                                     CHIEF U.S. DISTRICT COURT JUDGE
